                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

In re:          STEPHEN F BANHIDY                          ) Case No. 17-14287-jps
                HEATHER M BANHIDY                          ) Chapter 13 Proceedings
                    Debtor(s)                              ) Judge Jessica E. Price Smith


                NOTICE OF TRUSTEE’S MOTION TO DISMISS CASE
                           FOR FAILURE TO FUND


       Lauren A. Helbling, the Chapter 13 Bankruptcy Trustee, has filed papers with the court to
 dismiss your case.

       Your rights may be affected. You should read these papers carefully and discuss them
 with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you
 may wish to consult one.)

      If you do not want the court to dismiss your case, or if you want the court to consider your
 views on the motion, then on or before July 31, 2019, you or your attorney must:

         1. File with the Court, a written response to the motion explaining your position, at

           U.S. Bankruptcy Court
           Howard M. Metzenbaum U.S. Court House
           201 Superior Avenue
           Cleveland, Ohio 44114

       If you mail your response to the court for filing, you must mail it early enough so that the
 court will receive it on or before the date stated above.

         2. Send a copy to:
            Lauren A. Helbling, Chapter 13 Bankruptcy Trustee
            200 Public Square, Suite 3860
            Cleveland, Ohio 44114-2321


         If you or your attorney do not take these steps, the court may decide that you do not oppose
 the relief sought in the motion or objection and may enter an order granting that relief without a
 hearing.




 17-14287-jps       Doc 69     FILED 07/10/19       ENTERED 07/10/19 09:26:09           Page 1 of 2
                                       /s/ Lauren A. Helbling
                                       LAUREN A. HELBLING (#0038934)
                                       Chapter 13 Trustee
                                       200 Public Square, Suite 3860
                                       Cleveland OH 44114-2321
                                       Phone(216)621-4268
                                       Fax (216)621-4806
                                       Ch13trustee@ch13cleve.com



                                         CERTIFICATE OF SERVICE


   I certify that on July 10, 2019 a true and correct copy of this Notice of Motion was served:


   Via the Court's Electronic Case Filing System on these entities and individuals who are listed on the Court's
   Electronic Mail Notice List:

JAMES M MCCLAIN, on behalf, Debtor(s) at mcclain2@windstream.net
   And by regular U.S. mail, postage prepaid, on:

           STEPHEN & HEATHER BANHIDY, Debtor(s), at 27226 COOK RD., OLMSTED TWP., OH
           44138




                                       /s/ Lauren A. Helbling
                                       LAUREN A. HELBLING (#0038934)
                                       Chapter 13 Trustee
                                       200 Public Square, Suite 3860
                                       Cleveland OH 44114-2321
                                       (216) 621-4268




    17-14287-jps       Doc 69       FILED 07/10/19         ENTERED 07/10/19 09:26:09              Page 2 of 2
